     Case 2:18-cv-00697-APG-VCF Document 1 Filed 04/17/18 Page 1 of 17



David H. Krieger, Esq.
Nevada Bar No. 9086
HAINES & KRIEGER, LLC
8985 S. Eastern Ave., Suite 350
Henderson, NV 89123
Phone: (702) 880-5554
FAX: (702) 385-5518
Email: dkrieger@hainesandkrieger.com

Attorney for Plaintiffs
DEWANN WILLIAMS AND CAROLINA WILLIAMS

                    UNITED STATES DISTRICT COURT
                         DISTRICT OF NEVADA

                                          :
DEWANN WILLIAMS AND                       :
                                            Civil Action No.: ______
CAROLINA WILLIAMS,                        :
                                          :
                   Plaintiffs,            :
      v.                                  :
                                          :
                                            COMPLAINT
HONOR FINANCE, LLC,                       :
                                          :
                   Defendant.             :
                                          :

      For this Complaint, the Plaintiffs, DEWANN WILLIAMS AND

CAROLINA WILLIAMS, by undersigned counsel, states as follows:


                                 JURISDICTION
      1.     This action arises out of Defendant’s violations of the Telephone

Consumer Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”) by negligently,

knowingly, and/or willfully placing automated calls to Plaintiff’s cellular phone

without consent, thereby violating the TCPA.
     Case 2:18-cv-00697-APG-VCF Document 1 Filed 04/17/18 Page 2 of 17



      2.     This action also arises under Plaintiffs’ Nevada common law right(s)

to privacy and the Defendant’s systematic intrusion into the Plaintiffs’ seclusion.

      3.     Plaintiff alleges as follows upon personal knowledge as to Plaintiff

and Plaintiff’s own acts and experiences, and, as to all other matters, upon

information and belief, including investigation conducted by Plaintiff’s attorneys.

      4.     Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367 and this

Court has original jurisdiction over Plaintiff’s TCPA claims. Mims v. Arrow Fin.

Serv., LLC, 132 S.Ct. 740 (2012).

      5.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b) &

(c), because Plaintiff resides within the District of Nevada, a substantial portion of

the events or omissions giving rise to the claim occurred in this District, and

Defendant regularly conducts business in this District.

                                     PARTIES
      6.     The Plaintiffs, DEWANN WILLIAMS AND CAROLINA

WILLIAMS (“Plaintiffs” or “Mr. and Mrs. Williams”), are adult individuals

residing in Las Vegas, Nevada.

      7.     Plaintiffs at all times mentioned herein were each a “person” as

defined by 47 U.S.C. § 153(39).

      8.     Defendant HONOR FINANCE, LLC (“HONOR FINANCE”), is

doing business in the State of Nevada.
      Case 2:18-cv-00697-APG-VCF Document 1 Filed 04/17/18 Page 3 of 17



      9.     Defendant is and at all times mentioned herein was, a corporation and

is a “person,” as defined by 47 U.S.C. § 153 (39).

      10.    HONOR FINANCE at all times acted by and through one or more of

its agents or representatives.

       THE TELEPHONE CONSUMER PROTECTION ACT OF 1991

      11.    In 1991, Congress enacted the TCPA in response to a growing number

of consumer complaints regarding certain telemarketing practices.

      12.    The TCPA regulates, among other things, the use of automated

telephone dialing systems.

      13.    47 U.S.C. § 227(a)(1) defines an automatic telephone dialing system

(“ATDS”) as equipment having the capacity –

             (A) to store or produce telephone numbers to be called,
             using a random or sequential number generator; and

             (B)    to dial such numbers.

      14.    Specifically, 47 U.S.C. § 227(1)(A)(iii) prohibits any call using an

ATDS or an artificial or prerecorded voice to a cellular phone without prior

express consent by the person being called, unless the call is for emergency

purposes.

      15.    According to findings by the Federal Communications Commission

(“FCC”), such calls are prohibited because automated or prerecorded telephone

calls are a greater nuisance and invasion of privacy than live solicitation calls. The
      Case 2:18-cv-00697-APG-VCF Document 1 Filed 04/17/18 Page 4 of 17



FCC also recognized that wireless customers are charged for incoming calls.1

       16.    On January 4, 2008, the FCC released a Declaratory Ruling wherein it

confirmed that autodialed and prerecorded calls to a wireless number by a creditor,

or on behalf of a creditor, are permitted only if the calls are made with the “prior

express consent” of the called party.2

       17.    On July 10, 2015, the FCC issued FCC Order 15-72, wherein the

FCC3 stated that “[a] caller may not limit the manner in which revocation [of prior

express consent to call] may occur” and that the “burden is on the caller to prove it

obtained the necessary prior express consent”. Id. at ¶ 30.

       18.    Further, consumers (like the Plaintiff) may revoke consent through

any reasonable means. Id. at ¶ 47.

       19.    Nothing in the language of the TCPA or its legislative history

supports the notion that Congress intended to override a consumer’s common law

right to revoke consent. Id. at ¶ 58.




1
 Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991, CG
Docket No. 02-278, Report and Order, 18 FCC Rcd 14014 (2003).
2
 In the Matter of Rules and Regulations Implementing the Telephone Consumer Protection Act
of 1991, 23 F.C.C.R. 559, 23 FCC Rcd 559, 43 Communications Reg. (P&F) 877, 2008 WL
65485 (F.C.C.) (2008).
3
  See Declaratory Ruling and Order, Adopted June 18, 2015 and Released July 10, 2015
regarding In the Matter of Rules and Regulations Implementing the Telephone Consumer
Protection Act of 1991, CG Docket No. 02-278, WC Docket No. 07-135
(https://apps.fcc.gov/edocs_public/attachmatch/FCC-15-72A1.pdf).
      Case 2:18-cv-00697-APG-VCF Document 1 Filed 04/17/18 Page 5 of 17



      20.    Indeed, some consumers may find unwanted intrusions by phone more

offensive than home mailings because they can cost them money and because, for

many, their phone is with them at almost all times. Id. at ¶ 61.

      21.    Consumers have a right to revoke consent, using any reasonable

method including orally or in writing. Id. at ¶ 64.

              ALLEGATIONS APPLICABLE TO ALL COUNTS
      22.    In or about October 2016, the Plaintiffs leased a vehicle from Honor

Finance (the “Loan”). Due to a series of financial setbacks they were unable to

maintain payments on the vehicle resulting in collection calls.

      23.    Starting March 2017, the Plaintiffs received numerous calls from the

Defendant from a flurry of phone numbers seeking to collect on the Loan as follows:

702-978-5353, 847-773-3030, 847-733-0300, 702-359-0209, 702-701-5293, 702-

637-3936, 702-242-8299, and possibly others from the Defendant.

      24.    Upon receiving collections calls from Honor Finance, no later than

March 2017 the Plaintiffs, and each of them (since they were both receiving

collection calls from Honor Finance), instructed Honor Finance’s collection

representative to “stop all calls” to them.

      25.    The Plaintiff’s echoed this request from their first “revocation” effort in

March 2017 through the date of filing this instant action.
     Case 2:18-cv-00697-APG-VCF Document 1 Filed 04/17/18 Page 6 of 17



      26.   However the calls did not cease resulting in the below written request to

cease calls mailed by the Plaintiffs to HONOR on or about April 27, 2017:




…



…



…



…
     Case 2:18-cv-00697-APG-VCF Document 1 Filed 04/17/18 Page 7 of 17



      27.      Indeed, the Plaintiffs (in addition to their numerous oral consent

revocation efforts) sent Honor Finance written demands to cease and desist calls in

both April 2017 and March 2018 for any reason as follows:




      28.      A similar demand to “stop calling period” was mailed and emailed to

Honor Finance in April 2017.

      29.      During numerous calls with Honor Finance over the last year, the Honor

Finance representatives advised Mr. and Mrs. Williams that their account would be

noted to cease calls. However, calls persisted nonetheless.

      30.      Upon information and belief, Defendant employs an automatic

telephone dialing system (“ATDS”) which meets the definition set forth in 47 U.S.C.

§ 227(a)(1).
      Case 2:18-cv-00697-APG-VCF Document 1 Filed 04/17/18 Page 8 of 17



      31.    Indeed, on several instances the Plaintiffs received calls from Honor

Finance after March 2017, and Honor Representative would come online several

seconds after the Plaintiffs answered the call.

      32.    The Honor Finance representative would then state “thank you calling

Honor Finance” as though the Plaintiffs initiated the calls to Honor Finance – when

in fact just the opposite occurred (Honor Finance initiated the calls to the Plaintiffs).

      33.    In part, because of the connections delays and this befuddling

connection response from the Honor Finance representatives indicates that Honor

Finance used an automated outbound dialing system combined with an automated

call distribution system, commonly known as, automatic call distributor (ACD),

which is an automated telephony device that answers and distributes calls to a

specific group of terminals or agents within an organization.

      34.    All the calls discussed above were initiated by Defendant or its agent/s

to Plaintiffs cellular telephone numbers ending in “9326” (Mr. Williams cell phone)

and/or “9327” (Mrs. Williams’ cell phone) via an ATDS as defined by 47 U.S.C. §

227(a)(1), as prohibited by 47 U.S.C. § 227(b)(1)(A).

      35.    As explained above, in the calls that Plaintiffs did answer, there would

usually be a short pause lasting about two to three seconds between the time the calls

were answered and the time that a live agent introduced themselves as a

representative from Defendant.
        Case 2:18-cv-00697-APG-VCF Document 1 Filed 04/17/18 Page 9 of 17



        36.   Upon information and belief, based on the pause and lack of prompt

human response during the phone calls in which Plaintiff answered, Defendant used a

predictive dialing system to place calls to Plaintiff.

        37.   “A predictive dialer is equipment that dials numbers and, when certain

computer software is attached, also assists [caller] in predicting when an [agent] will

be available to take calls. The hardware, when paired with certain software, has the

capacity to store or produce numbers and dial those numbers at random, in sequential

order, or from a database of numbers.” Meyer v. Portfolio Recovery Associates, LLC,

707 F.3d 1036, 1043 (9th Cir. 2012).

        38.   Predictive dialing systems are a form of an automatic telephone dialing

system. Id.

        39.   Upon information and belief, the predictive dialing system employed by

Defendant transfers the call to a live agent once a human voice is detected, thus

resulting in a pause after the called party speaks into the phone.

        40.   As discussed above, Plaintiffs each instructed Defendant or its agent(s)

not to call the Plaintiff’s cell phone ever again no later than March 2017 thereby

revoking consent, if any ever existed, to be contacted by Defendant via an ATDS.

        41.   Moreover, Defendant did not have prior express consent to place any

automated or prerecorded calls to Plaintiff on Plaintiff’s cellular telephone at any

time.
     Case 2:18-cv-00697-APG-VCF Document 1 Filed 04/17/18 Page 10 of 17



       42.    However, Defendant placed calls to the Plaintiffs’ cellular telephone

without consent using an ATDS in violation of the TCPA.

       43.    Defendant’s ATDS has the capacity to store or produce telephone

numbers to be called, using a random or sequential number generator.

       44.    The telephone numbers that Defendant used to contact Plaintiffs were

assigned to a cellular telephone service as specified in 47 U.S.C. § 227(b)(1)(A)(iii).

       45.    Defendant’s calls to Plaintiffs’ cellular telephones were not for

“emergency purposes.”

       46.    Pursuant to the TCPA and the FCC’s January 2008 Declaratory Ruling,

the burden is on Defendant to demonstrate that it had prior express consent to call

Plaintiff’s cellular phone with an ATDS.

       47.    The Plaintiffs suffered actual harm and loss, since each of the unwanted

calls depleted the Plaintiffs’ cell phone’s battery, and the cost of electricity to

recharge the phone is a tangible harm. While small, this cost is a real one, and the

cumulative effect can be consequential, just as is true for exposure to X-rays resulting

from the Defendant’s unwanted phone calls to the Plaintiff’s cell phone.

       48.    Plaintiffs also suffered from an invasion of a legally protected interest

by placing calls to the Plaintiffs’ personal phone line when the Defendant had no

right to do so, resulting in an invasion of Plaintiffs’ right to privacy. The TCPA

protects consumers from this precise behavior.
     Case 2:18-cv-00697-APG-VCF Document 1 Filed 04/17/18 Page 11 of 17



      49.    Plaintiffs have a common law right to privacy. E.g., Samuel D. Warren

& Louis D. Brandeis, The Right to Privacy, 4 Harv. L. Rev. 1155, 193 (1890).

Congress sought to further protect that right by enacting the TCPA.

      50.    “[W]hen a person must endure the bother of unwanted calls in the

privacy of her home, her harm is similar to other traditional injuries that courts have

long recognized, such as invasion of privacy and nuisance.” Toldi v. Hyundai

Capital Am., No. 2:16-CV—01877-APG-GWF, 2017 WL 736882, at *2 (D. Nev.

Feb. 23, 2017).

      51.    Plaintiffs were also personally affected, since the Plaintiffs felt that the

their privacy had been invaded when the Defendant placed calls to their phones

without any consent to do so.

      52.    The injuries suffered by Plaintiffs are concrete because Defendant’s

violations caused Plaintiffs to suffer an invasion of privacy.

                                       COUNT I

                            Negligent Violations of the
                       Telephone Consumer Protection Act,
                             (47 U.S.C. § 227, et seq.)

      53.    Plaintiffs repeats and reallege the above paragraphs of this Complaint

and incorporates them herein by reference.

      54.    Defendant negligently placed multiple automated calls to cellular

numbers belonging to Plaintiffs without Plaintiffs’ prior express consent.
     Case 2:18-cv-00697-APG-VCF Document 1 Filed 04/17/18 Page 12 of 17



      55.    Each of the aforementioned calls by Defendant constitutes a negligent

violation of the TCPA.

      56.    As a result of Defendant’s negligent violations of the TCPA, Plaintiffs

are each entitled to an award of $500.00 in statutory damages for each call in

violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B).

      57.    Additionally, Plaintiffs are entitled to and seek injunctive relief

prohibiting such conduct by Defendant in the future.

                                     COUNT II

                    Knowing and/or Willful Violations of the
                     Telephone Consumer Protection Act,
                           (47 U.S.C. § 227, et seq.)

      58.    Plaintiffs repeats and reallege the above paragraphs of this Complaint

and incorporates them herein by reference.

      59.    Defendant knowingly and/or willfully placed multiple automated calls

to cellular numbers belonging to Plaintiffs without Plaintiffs’ prior express

consent.

      60.    Each of the aforementioned calls by Defendant constitutes a knowing

and/or willful violation of the TCPA.

      61.    As a result of Defendant’s knowing and/or willful violations of the

TCPA, Plaintiffs are entitled to an award of treble damages up to $1,500.00 for

each call in violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(B) and 47
     Case 2:18-cv-00697-APG-VCF Document 1 Filed 04/17/18 Page 13 of 17



U.S.C. § 227(b)(3)(C).

      62.    Additionally, Plaintiffs are entitled to seek injunctive relief

prohibiting such conduct by Defendant in the future.

                                    COUNT III
                                Invasion of Privacy
                             (Intrusion into Seclusion)

      63.    Plaintiffs incorporates by reference all of the paragraphs of this

Complaint as though fully stated herein.

      64.    Consumers (like the Plaintiffs here) have an inherent right to privacy

in collection matters.

      65.    To recover for the tort of a privacy invasion for an intrusion into

seclusion, a plaintiff must prove the following elements: “(1) an intentional

intrusion (physical or otherwise); (2) on the solitude or seclusion of another; (3)

that would be highly offensive to a reasonable person." Kuhn v. Account Control

Technology, 865 F. Supp. 1443, 1448 (D. Nev. 1994) (citing People for the Ethical

Treatment of Animals v. Bobby Berosini, Ltd., 111 Nev. 615 (Nev. 1995),

overruled on other grounds by City of Las Vegas Downtown Redevelopment

Agency v. Hecht, 113 Nev. 644 (Nev. 1997)).

      66.    Further, the Nevada Supreme Court has held that “in order to have an

interest in seclusion or solitude which the law will protect, a plaintiff must show

that he or she had an actual expectation of seclusion or solitude and that that
     Case 2:18-cv-00697-APG-VCF Document 1 Filed 04/17/18 Page 14 of 17



expectation was objectively reasonable.” Id. (citing M & R Investment Co. v.

Mandarino, 103 Nev. 711, 748 P.2d 488, 493 (Nev. 1987)).

      67.    In addition, a defendant’s actions must be highly offensive to a

reasonable person. See PETA, 867 P.2d at 1133 (internal citation omitted). A court

should consider the following factors in determining whether a particular action is

highly offensive: “the degree of intrusion, the context, conduct and circumstances

surrounding the intrusion as well as the intruder's motives and objectives, the

setting into which he intrudes, and the expectations of those whose privacy is

invaded.” Id. (citations omitted).

      68.    Here, these elements are satisfied by a wide margin.

      69.    The Plaintiffs, an each of them, as pled herein allege that HONOR

persisted in invasive and illegal collection conduct on dozens, if not 100’s of

occasions even after the Plaintiff’s advised HONOR its conduct was abusive,

harassing and annoying.

      70.    Indeed, in addition to the numerous verbal efforts instructing

HONOR’s agents to cease the harassing collection conduct, HONOR also

disregarded at least two (2) written demands to HONOR (one of which was sent

over a year prior to filing the instant complaint) demanding that HONOR cease all

collection communications.
     Case 2:18-cv-00697-APG-VCF Document 1 Filed 04/17/18 Page 15 of 17



      71.    HONOR persistent and reckless pattern of ignoring the Plaintiffs’

pleas to let them live peaceably without the daily nuisance of HONOR’s debt

collection fell on deaf ears.

      72.    Such conduct squarely and comfortably fits within Nevada’s privacy

law standards and the Plaintiffs have each stated claims against HONOR given

HONOR’s persistent and intentional intrusion into each Plaintiffs’ solitude or

seclusion which would be highly offensive to a reasonable person. Indeed,

HONOR could not reasonably ignore Plaintiffs’ numerous efforts to cease

collection conduct when it knew such collection efforts were annoying and

harassing the Plaintiffs. Nothing prevented HONOR from suing the Plaintiffs to

collect the debt; but it instead chose to harass them both into repayment in

violation of Nevada’s common law right to privacy.

      73.    HONOR and/or its agents intentionally and/or negligently interfered,

physically or otherwise, with the solitude, seclusion and/or private concerns or

affairs of this Plaintiffs, namely, by repeatedly and unlawfully attempting to collect

a debt after being advised HONOR’s collection calls were to “cease” only to be

persistently disregarded (dozens of times verbally and twice in writing) resulting in

an invasion of Plaintiffs’ privacy.

      74.    Plaintiffs had a reasonable expectation of privacy in Plaintiff’s

solitude, seclusion, private concerns or affairs, and private financial information.
     Case 2:18-cv-00697-APG-VCF Document 1 Filed 04/17/18 Page 16 of 17



      75.      The conduct of these Defendants and their agents, in engaging in the

above-described illegal collection conduct against this Plaintiffs, resulted in

multiple intrusions and invasions of privacy by HONOR which occurred in a way

that would be highly offensive to a reasonable person in that position.

      76.      As a result of such intrusions and invasions of privacy, Plaintiffs are

entitled to actual damages and punitive in an amount to be determined at trial from

each Defendant.

      WHEREFORE, the Plaintiffs prays that judgment be entered against the

Defendant awarding the Plaintiff:

            1. Injunctive relief prohibiting such violations of the TCPA by Defendant

               in the future;

            2. Statutory damages of $500.00 for each and every call in violation of the

               TCPA pursuant to 47 U.S.C. § 227(b)(3)(B);

            3. Treble damages of up to $1,500.00 for each and every call in violation

               of the TCPA pursuant to 47 U.S.C. § 227(b)(3)(C);

            4. Actual damages including, but not limited to, the emotional distress the

               Plaintiff has suffered (and continues to suffer) as a result of the

               intentional, reckless, and/or negligent invasion of privacy;

            5. Punitive damages;

            6. An award of attorney’s fees and costs to counsel for Plaintiff; and
    Case 2:18-cv-00697-APG-VCF Document 1 Filed 04/17/18 Page 17 of 17



        7. Such other relief as the Court deems just and proper.

            TRIAL BY JURY DEMANDED ON ALL COUNTS

Dated: April 17, 2018

                                     Respectfully submitted,

                                     By /s/ David H. Krieger, Esq.

                                            David H. Krieger, Esq.
                                            Nevada Bar No. 9086
                                            HAINES & KRIEGER, LLC
                                            8985 S. Eastern Avenue, Suite 350
                                            Henderson, Nevada 89123
                                            Phone: (702) 880-5554
                                            FAX: (702) 385-5518
                                            Email: dkrieger@hainesandkrieger.com

                                            Attorney for Plaintiffs
                                            DEWANN WILLIAMS AND
                                            CAROLINA WILLIAMS
